Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 1 of 11 Page ID #:4323



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 14
                           UNITED STATES DISTRICT COURT
 15                       CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
 16
 17   CLEVELAND CONSTANTINE                  Case No.: 2:21-cv-02840-AB-AFM
      BROWNE, ET AL.,
 18
                    Plaintiffs,              DEFENDANT RICARDO ANDRES
 19
            v.                               REGLERO RODRIGUEZ P/K/A
 20   RODNEY SEBASTIAN CLARK, an             RICKY’S ANSWER TO SECOND
      individual, ET AL.,                    CONSOLIDATED AMENDED
 21
                                             COMPLAINT
 22   Defendants.

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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 2 of 11 Page ID #:4324



  1          Defendant Ricardo Andres Reglero Rodriguez p/k/a Ricky (“Defendant”),
  2   through counsel, hereby answers the Second Consolidated Amended Complaint
  3   (“SCAC”) of Plaintiffs as follows:
  4                                     Preliminary Statement
  5          Defendant objects to the thirty-three page “Exhibit A,” which lists thousands
  6   of unrelated instances of alleged infringement that Plaintiffs reference and supposedly
  7   incorporate by such reference into 114 numbered paragraphs of the Second
  8   Consolidated Amended Complaint (“SCAC”).
  9          All that Exhibit A provides in the way of “information” is an identification of
 10   each allegedly infringing work (which is not consistent with the SCAC), the “primary
 11   artist” supposedly involved, the defendants supposedly involved with each allegedly
 12   infringing work, and generic and totally uninformative descriptions of the nature of
 13   the alleged infringement (i.e., “copied composition,” “sample that copies composition
 14   and copied composition” and “sample that copies composition and copied
 15   composition and interpolates Dem Bow”), none of which identifies which of
 16   Plaintiffs’ claimed works is allegedly infringed or what it is in the allegedly infringing
 17   work that is allegedly infringing.
 18          Under the Federal Rules of Civil Procedure, “[e]ach allegation must be simple,
 19   concise, and direct.” Fed. Rule Civ. P. 8(d)(1). Further, Rule 10(b) requires Plaintiffs
 20   to “state [their] claims [] in numbered paragraphs, each limited as far as practicable
 21   to a single set of circumstances.” (Emphasis added). Here, Plaintiffs’ Exhibit A is
 22   an attorney-created “confus[ing]”1 compilation of thousands of unrelated purportedly
 23   infringing works by hundreds of defendants, providing no information as to who did
 24   what or how and is clearly not limited to a “single set of circumstances.” See, e.g.,
 25   Pangborn v. Dir. of CDCR, No. 2:19-CV-02503-AB-JC, 2023 WL 10368066, at *8
 26   1
       See May 28, 2024 Order on Motions to Dismiss (recognizing the “confusion” caused by Plaintiffs’
 27   Exhibit A). (Dkt 421.)
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 3 of 11 Page ID #:4325



  1   (C.D. Cal. Nov. 9, 2023) (Birotte, J.) (dismissing complaint where the paragraphs
  2   were “not limited to ‘a single set of circumstances,’ thus making it difficult for
  3   defendants to properly frame a response in the form of an Answer.”).
  4         Additionally, Exhibit A is not a “written instrument” and thus cannot be
  5   incorporated into the SCAC.        Rule 10(c) provides that “[a] copy of a written
  6   instrument that is an exhibit to a pleading is part of the pleading for all purposes.”
  7   (Emphasis added). A “written instrument” is a document that “consist[s] largely of
  8   documentary evidence, specifically, contracts, notes, and other writings on which a
  9   party’s action or defense is based.” See Montgomery v. Buege, No. CIV. 08-385 WBS
 10   KJM, 2009 WL 1034518, at *3 (E.D. Cal. Apr. 16, 2009) (comparing and contrasting
 11   documents which qualify as “written instruments”); see also Black’s Law Dictionary
 12   (11th ed. 2019) (defining “instrument” as a “written legal document that defines
 13   rights, duties, entitlements, or liabilities, such as a statute, contract, will, promissory
 14   note, or share certificate.”). Exhibits containing evidentiary materials (here, the
 15   “evidentiary materials” are purely hearsay) are not considered written instruments
 16   under Rule 10(c). See generally, Montgomery, 2009 WL 1034518, at *3; see also
 17   Smith v. Hogan, 794 F.3d 249, 254 (2d Cir. 2015) (the Second Circuit agreeing with
 18   the Third Circuit, and explicitly holding that Rule 10(c) contemplates only the
 19   attachment and incorporation of legal documents).
 20         To the extent Defendant is required to respond to any purported allegations
 21   made, suggested or lurking in or on Exhibit A, Defendant denies knowledge or
 22   information sufficient to form a belief as to the truth of any and all allegations
 23   regarding any works and as to any defendants other than himself and denies all
 24   allegations of infringement alleged as against Defendant.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 4 of 11 Page ID #:4326



  1                                    Jurisdiction and Venue
  2         1.      Answering paragraphs 1-3, these paragraphs set forth Plaintiffs’ legal
  3   contentions, to which no response is required. To the extent a response is required,
  4   Defendant denies those allegations.
  5                                           Parties
  6         2.      Answering paragraphs 4-70, and 72-171, Defendant denies knowledge or
  7   information sufficient to form a belief as to the truth of the allegations set forth in
  8   such paragraphs.
  9         3.      Answering paragraph 71, Defendant admits that Defendant has a
 10   residence in Miami, Florida, that he has performed as part of a duo called “Mau &
 11   Ricky”, and avers that the remainder of the allegations call for a legal conclusion to
 12   which no response is required.
 13         4.      Answering paragraph 172, Defendant denies each and every allegation
 14   contained therein.
 15                                     Factual Background
 16         5.      Answering paragraphs 173-179, Defendant denies knowledge or
 17   information sufficient to form a belief as to the truth of the allegations in such
 18   paragraphs.
 19         6.      Answering paragraphs 180-181, these paragraphs call for the opinion of
 20   an expert and are therefore improper and premature under Federal Rule of Civil
 21   Procedure 26. Further, these paragraphs set forth Plaintiffs’ legal contentions, to
 22   which no response is required. To the extent a response is required, Defendant denies
 23   those allegations and specifically avers that Fish Market was not an original work and
 24   its drum pattern was neither original nor protectable.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 5 of 11 Page ID #:4327



  1         7.    Answering paragraph 182-183, Defendant denies knowledge or
  2   information sufficient to form a belief as to the truth of the allegations set forth in
  3   such paragraphs.
  4         8.    Answering paragraphs 184-186, Defendant denies each and every
  5   allegation contained therein.
  6         9.    Answering paragraph 187, Defendant denies knowledge or information
  7   sufficient to form a belief as to the truth of the allegations in such paragraph.
  8         10. Answering paragraphs 188-189, Defendant denies each and every
  9   allegation contained therein, except denies knowledge or information sufficient to
 10   form a belief as to the truth of the allegation in paragraph 188 about the release of
 11   Pounder Riddim and Pounder and admits that Plaintiffs purport to have registered
 12   copyrights with the copyright office and denies that any such registration was
 13   authorized or proper.
 14         11. Answering paragraph 190, Defendant denies each and every allegation
 15   contained therein and respectfully refers the Court to Defendant’s preliminary
 16   statement for a fuller response regarding the impropriety of Exhibit A.
 17         12. Answering paragraph 191, Defendant denies each and every allegation
 18   contained therein as no license, authorization, or consent from Plaintiffs was required.
 19         13. Answering paragraph 192, Defendant denies each and every allegation
 20   contained therein.
 21         14. Answering paragraph 193, Defendant denies each and every allegation
 22   contained therein, except admits that Plaintiffs purport to divide defendants into
 23   groups.
 24         15. Answering paragraphs 194-199, Defendant denies each and every
 25   allegation contained therein.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 6 of 11 Page ID #:4328



  1         16. Answering paragraph 200, Defendant denies the allegations contained
  2   therein, except admits that Plaintiffs purport to have registered copyrights with the
  3   copyright office and denies that any such registration was authorized or proper.
  4                          Allegations Against Other Defendants
  5         17. Answering paragraphs 201-647, Defendant denies knowledge or
  6   information sufficient to form a belief as to the truth of the allegations set forth in
  7   such paragraphs.
  8        18.    Answering paragraph 648, this paragraph calls for the opinions of an
  9 expert and is therefore improper and premature under Federal Rule of Civil
 10 Procedure 26. Further, this paragraph sets forth Plaintiffs’ legal contentions, to which
 11 no response is required. To the extent a response is required, Defendant denies those
 12 allegations and specifically avers that Fish Market was not an original work and its
 13 drum pattern was neither original nor protectable.
 14        19.     Answering paragraph 649, Defendant denies each and every allegation
 15 contained therein and denies that any consent was required.
 16        20.     Answering paragraphs 650-651, Defendant denies each and every
 17 allegation contained therein.
 18        21.     Answering paragraph 652, Defendant denies the allegations of such
 19 paragraph as they generally and improperly refer to several different defendants and
 20 claim that each such defendant supposedly engaged in series of alleged different
 21 activities, without any specification as to what each defendant supposedly did and
 22 therefore, on that basis Defendant denies such allegations.
 23        22.     Answering paragraphs 653 and 654, Defendant denies knowledge or
 24 information sufficient to form a belief as to the truth of the allegations in such
 25 paragraphs.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 7 of 11 Page ID #:4329



  1                                    First Claim for Relief
  2        23.     Answering paragraph 655, Defendant repeats the responses to
  3 paragraphs 1 through 654 hereinabove as though set forth at length herein.
  4        24.     Answering paragraph 656, Defendant denies each and every allegation
  5 contained therein.
  6        25.     Answering paragraphs 657-663, Defendant denies each and every
  7 allegation contained therein.
  8        26.    Answering paragraphs 664-666, Defendant denies knowledge or
  9 information sufficient to form a belief as to the truth of the allegations set forth in such
 10 paragraphs.
 11        27.    Answering paragraphs 667-677, Defendant denies each and every
 12 allegation contained therein.
 13                                   Second Claim for Relief
 14         28.    Answering paragraphs 678-683, pursuant to the Court’s May 28, 2024
 15   Order on Defendants’ Motions to Dismiss, Plaintiffs’ Second Claim for Relief has
 16   been dismissed with prejudice.       Accordingly, no response is required to these
 17   allegations. To the extent a response is required, Defendant denies those allegations.
 18                               AFFIRMATIVE DEFENSES
 19         Defendant asserts the following defenses to Plaintiffs’ alleged cause of action.
 20   Insofar as any of the following constitutes a denial of an element of any claim alleged
 21   against the Defendant in this action, such denial does not indicate that Plaintiffs are
 22   relieved of their affirmative burden to prove each and every element of their claims.
 23   In addition, Defendant has not knowingly or intentionally waived any applicable
 24   defenses and reserves the right to assert and to rely upon any such other applicable
 25   defenses as may become available through discovery or otherwise.
 26                            FIRST AFFIRMATIVE DEFENSE
 27         The SCAC fails to state any claim upon which relief can be granted.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 8 of 11 Page ID #:4330



  1                          SECOND AFFIRMATIVE DEFENSE
  2         Plaintiffs lack standing to bring the claims asserted in the SCAC.
  3                           THIRD AFFIRMATIVE DEFENSE
  4         Plaintiffs’ claims are barred by the doctrines of laches, waiver, acquiescence,
  5   and/or estoppel.
  6                          FOURTH AFFIRMATIVE DEFENSE
  7         Plaintiffs’ claims fail because Defendant has not engaged in any type of
  8   infringement, and there is no actionable similarity between the works at issue.
  9                           FIFTH AFFIRMATIVE DEFENSE
 10         Plaintiffs’ claims fail because any allegedly copied portions of the works at
 11   issue lie in the public domain.
 12                           SIXTH AFFIRMATIVE DEFENSE
 13         Plaintiffs’ claims fail because any allegedly copied portions of the works at
 14   issue are neither original nor a protectable expression of an idea.
 15                          SEVENTH AFFIRMATIVE DEFENSE
 16         Plaintiffs’ claims are barred because the works at issue were independently
 17   created.
 18                          EIGHTH AFFIRMATIVE DEFENSE
 19         Without admitting the alleged use of any original and protectable copyrighted
 20   material allegedly owned by Plaintiffs, which is denied, Plaintiffs’ claims fail because
 21   any such alleged use was de minimis.
 22                           NINTH AFFIRMATIVE DEFENSE
 23         To the extent that Defendant is found to have engaged in infringement, which
 24   Defendant denies, Plaintiffs expressly or implicitly consented to or ratified the
 25   Defendant’s actions.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 9 of 11 Page ID #:4331



  1                           TENTH AFFIRMATIVE DEFENSE
  2         Without admitting the alleged use of any original and protectable copyrighted
  3   material allegedly owned by Plaintiffs, which is denied, the conduct of which
  4   Plaintiffs complain constitutes fair use.
  5                        ELEVENTH AFFIRMATIVE DEFENSE
  6         Without admitting any infringement, which is denied, the alleged infringement
  7   was innocent.
  8                         TWELFTH AFFIRMATIVE DEFENSE
  9         Plaintiffs’ claims are barred in whole or in part by the applicable statute of
 10   limitations.
 11                       THIRTEENTH AFFIRMATIVE DEFENSE
 12         To the extent that Defendant is found to have engaged in infringement, which
 13   Defendant denies, Plaintiffs are precluded from recovering statutory damages or
 14   attorneys’ fees based on their belated registration of the pertinent copyright
 15   registrations.
 16                      FOURTEENTH AFFIRMATIVE DEFENSE
 17         To the extent that Plaintiffs’ claims involve alleged infringement and resulting
 18   damages for alleged infringements that occurred outside of the United States, these
 19   claims are barred under the Copyright Act.
 20                        FIFTEENTH AFFIRMATIVE DEFENSE
 21         Plaintiffs’ claims are barred in whole or in part because the works Plaintiffs
 22   claim to own are not eligible for copyright protection in the United States as they fail
 23   to satisfy the requirements of Section 104 of the Copyright Act.
 24                        SIXTEENTH AFFIRMATIVE DEFENSE
 25         Plaintiffs’ claims are barred in whole or in part because Plaintiffs lack valid
 26   United States copyright registrations for the works that they claim to own.
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                               ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 10 of 11 Page ID #:4332



   1                       SEVENTEENTH AFFIRMATIVE DEFENSE
   2         To the extent that Plaintiffs rely on a selection and arrangement theory,
   3   Plaintiffs fail to state a claim as the number of unprotectable elements that have been
   4   “combined” are not numerous enough and do not constitute an original work of
   5   authorship and the allegedly infringing works are not identical or virtually identical.
   6                       EIGHTEENTH AFFIRMATIVE DEFENSE
   7         Plaintiffs’ claims are barred as a result of copyright misuse and/or fraud on the
   8   Copyright Office.
   9                       NINETEENTH AFFIRMATIVE DEFENSE
  10         Plaintiffs’ claims are barred in whole or in part to the extent that Plaintiffs have
  11   failed to name necessary and/or indispensable parties.
  12                        TWENTIETH AFFIRMATIVE DEFENSE
  13         Plaintiffs’ claims are barred in whole or in part to the extent that Plaintiffs have
  14   sued the improper parties, defendants, or entities.
  15                       TWENTY-FIRST AFFIRMATIVE DEFENSE
  16         Plaintiffs are not entitled to injunctive relief because Plaintiffs have an
  17   adequate remedy at law in the event that Plaintiffs prevail on the merits.
  18                    TWENTY-SECOND AFFIRMATIVE DEFENSE
  19         Plaintiffs’ claims are barred in whole or in part because Plaintiffs failed to
  20   mitigate their damages, if any.
  21                        TWENTY-THIRD AFFIRMATIVE DEFENSE
  22         This Court lacks personal jurisdiction over Defendant.
  23                       TWENTY-FOURTH AFFIRMATIVE DEFENSE
  24         Plaintiffs failed to sufficiently serve process on Defendant.
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                                ANSWER TO SCAC
Case 2:21-cv-02840-AB-AJR Document 447 Filed 07/25/24 Page 11 of 11 Page ID #:4333



   1                                         Prayer for Relief
   2          WHEREFORE, Defendant prays for judgment as follows:
   3          1.     That Plaintiffs take nothing by way of the SCAC;
   4          2.     That Defendant be awarded their costs, together with reasonable
   5   attorneys’ fees; and,
   6          3.     For all such other further relief as the Court deems just and proper.
   7                                     Demand for Jury Trial
   8          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Defendant demands
   9   trial by jury in this action of all issues so triable.
  10
  11   Respectfully submitted,
  12          Dated: July 25, 2024                By:     /s/ Donald S. Zakarin
  13                                                      Donald S. Zakarin
                                                          Frank P. Scibilia
  14                                                      James G. Sammataro
  15                                                      Benjamin S. Akley
                                                          Shamar Toms-Anthony
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                                ANSWER TO SCAC
